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                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE

         In re:                                                           Chapter 11

         COLOR SPOT HOLDINGS, INC., et al.,1                              Case No. 18-11272 (LSS)

                                               Debtors.                   Jointly Administered


                   NOTICE OF ESTABLISHMENT OF BAR DATES FOR FILING PROOFS
                   OF PREPETITION CLAIMS, INCLUDING SECTION 503(b)(9) CLAIMS

         To All Persons and Entities with Claims Against Any of the Following Debtor Entities:

                        YOU ARE RECEIVING THIS NOTICE BECAUSE YOU MAY BE
                     HOLDING A CLAIM AGAINST ONE OR MORE OF THE DEBTORS IN
                 THE ABOVE-CAPTIONED CHAPTER 11 CASES. THEREFORE, YOU SHOULD
                 READ THIS NOTICE CAREFULLY AND DISCUSS IT WITH YOUR ATTORNEY.
                 IF YOU DO NOT HAVE AN ATTORNEY, YOU MAY WISH TO CONSULT ONE.

                 On May 29, 2018 (the “Petition Date”), Color Spot Holdings, Inc. and its affiliated
         debtors and debtors in possession in the above-captioned cases (collectively, the “Debtors”)
         filed petitions commencing chapter 11 cases under title 11 of the United States Code, 11 U.S.C.
         §§ 101–1532 (the “Bankruptcy Code”) in the United States Bankruptcy Court for the District of
         Delaware (the “Court”).

                                                 DEBTOR                                   CASE NO.
                              Color Spot Holdings, Inc.                             18-11272 (LSS)
                              Color Spot Nurseries, Inc.                            18-11273 (LSS)
                              Hines Growers, Inc.                                   18-11274 (LSS)
                              Lone Star Growers, Inc.                               18-11275 (LSS)

                 On July 26, 2018, the Court entered an order [D.I. 248] (the “Bar Date Order”)
         establishing various bar dates for filing proofs of claim and requests for allowance of certain
         administrative expenses. The Court has established August 30, 2018 at 4:00 p.m. (the “General
         Bar Date”) as the general claims bar date for filing proofs of claim in these chapter 11 cases for
         all persons and entities other than governmental units, and November 27, 2018, at 4:00 p.m. (the

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                The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
                number are: Color Spot Holdings, Inc. (7061); Color Spot Nurseries, Inc. (3266); Hines Growers, Inc. (5946);
                and Lone Star Growers, Inc. (4748). The Debtors’ principal offices are located at 27368 Via Industria, Suite
                201, Temecula, CA 92590.
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         “Government Bar Date”) as the bar date for governmental units to file proofs of claim in these
         chapter 11 cases. As described below, the Bar Date Order also establishes different bar dates for
         other categories of claims.

                 For your convenience, enclosed with this notice is a personalized proof of claim form,
         which identifies on its face the amount, nature, and classification of your claim(s), if any, listed
         in the Debtors’ schedules of assets and liabilities filed in these cases (the “Schedules”).

                 As used in this notice, the term “entity” has the meaning given to it in section 101(15) of
         the Bankruptcy Code, and includes all persons, estates, trusts, governmental units, and the United
         States trustee. The terms “persons” and “governmental units” are defined in sections 101(41)
         and 101(27) of the Bankruptcy Code, respectively.

                Additionally, the term “claim” means, as to or against any of the Debtors and in
         accordance with section 101(5) of the Bankruptcy Code: (i) any right to payment, whether or not
         such right is reduced to judgment, liquidated, unliquidated, fixed, contingent, matured,
         unmatured, disputed, undisputed, legal, equitable, secured, or unsecured; or (ii) any right to an
         equitable remedy for breach of performance if such breach gives rise to a right to payment,
         whether or not such right to an equitable remedy is reduced to judgment, fixed, contingent,
         matured, unmatured, disputed, undisputed, secured, or unsecured. Finally, “Section 503(b)(9)
         Claims” means any claim entitled to administrative expense status under section 503(b)(9) of the
         Bankruptcy Code.

                1.      The Bar Dates

                 The Bar Date Order establishes the following bar dates for filing proofs of claim in these
         cases (the “Bar Dates”):

                  (i)   The General Bar Date. Pursuant to the Bar Date Order, except as described
                        below, all persons or entities holding claims against the Debtors that arose or are
                        deemed to have arisen prior to the Petition Date are required to file proofs of
                        claim by August 30, 2018, 2018 at 4:00 p.m.. The General Bar Date applies to all
                        types of claims against the Debtors that arose prior to the Petition Date, including
                        Section 503(b)(9) Claims, secured claims, unsecured priority claims, and
                        unsecured nonpriority claims.

                 (ii)   The Government Bar Date. Pursuant to the Bar Date Order, all governmental
                        units holding claims against the Debtors that arose or are deemed to have arisen
                        prior to the Petition Date are required to file proofs of claim by November 27,
                        2018 at 4:00 p.m. The Government Bar Date applies to all governmental units
                        holding claims against the Debtors (whether Section 503(b)(9) Claim, secured
                        claims, unsecured priority claims, or unsecured nonpriority claims) that arose
                        prior to the Petition Date, including, without limitation, governmental units with
                        claims against the Debtors for unpaid taxes, whether such claims arise from
                        prepetition tax periods or prepetition transactions to which the Debtors were a
                        party.


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                (iii)   The Amended Schedule Bar Date. If, subsequent to the date of this notice, a
                        Debtor amends or supplements its Schedules to modify the undisputed,
                        noncontingent, and liquidated amount of a claim listed in the Schedules to change
                        the nature or classification of a claim against a Debtor reflected in the Schedules,
                        or to add a new claim to the Schedules, the affected creditor is required to file a
                        proof of claim or amend any previously filed proof of claim in respect of the
                        affected claim on or before the later of (a) the above-listed Bar Date applicable to
                        such affected creditor and (b) twenty-one (21) days after the date that notice of the
                        applicable amendment or supplement to the Schedules is served on the creditor.
                        The later of these dates is referred to in this Notice as the “Amended Schedule
                        Bar Date.”

                (iv)    The Rejection Bar Date. Any entity whose claim arises out of the Court-approved
                        rejection of an executory contract or unexpired lease pursuant to section 365 of
                        the Bankruptcy Code prior to the confirmation of a chapter 11 plan in the
                        applicable Debtor’s case must file a proof of claim on or before the later of (a) the
                        General Bar Date (or the Government Bar Date for governmental units), and
                        (b) twenty-one (21) days after the effective date of rejection of the applicable
                        contract or lease. The later of these dates is referred to in this Notice as the
                        “Rejection Bar Date.”

                2.      Who Must File a Proof of Claim

                 Unless one of the exceptions described in Section 5 below applies, you MUST file a
         proof of claim to vote on a chapter 11 plan of reorganization or to share in distributions from the
         Debtors’ bankruptcy estates if you have a claim that arose or is deemed to have arisen prior to
         the Petition Date. Claims based on acts or omissions of the Debtors that occurred before the
         Petition Date must be filed on or prior to the applicable Bar Date, even if such claims are not
         now fixed, liquidated, or certain or did not mature or become fixed, liquidated, or certain before
         the Petition Date.

                 Except where the Rejection Bar Date, the Government Bar Date, or the Amended
         Schedule Bar Date applies to establish a different deadline or one of the exceptions in Section 5
         applies, the following entities must file proofs of claim on or before the General Bar Date:

                  (i)   any person or entity whose claim against a Debtor is not listed in the applicable
                        Debtor’s Schedules or is listed in the Schedules as either one or more of: disputed,
                        contingent, or unliquidated; and

                 (ii)   any person or entity who believes that its claim is improperly classified in the
                        Schedules or is listed in an incorrect amount and who desires to have its claim
                        allowed in a classification or amount other than that identified in the Schedules.

                3.      What to File

                The Debtors are enclosing a proof of claim form for use in these cases, or you may use
         another proof of claim form that conforms substantially to Official Bankruptcy Form B10. If
         your claim is scheduled by the Debtors, the attached proof of claim form also sets forth: (i) the
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         amount of your claim (if any) as scheduled by the Debtors; (ii) the specific Debtor against which
         the claim is scheduled; (iii) whether your claim is scheduled as either one or more of: disputed,
         contingent, or unliquidated; and (iv) whether your claim is listed as a secured, unsecured priority,
         or unsecured nonpriority claim. You will receive a different proof of claim form for each claim
         scheduled in your name by the Debtors. You may utilize the proof of claim form provided by
         the Debtors to file your claim.

                All proof of claim forms must be signed by the creditor or, if the creditor is not an
         individual, by an authorized agent of the creditor. The proof of claim form must be written in
         English and be denominated in United States currency. You should attach to your completed
         proof of claim any documents on which the claim is based (or, if such documents are
         voluminous, attach a summary) or an explanation as to why the documents are not available.

                  Any entity asserting claims against more than one Debtor must file a separate proof of
         claim with respect to each such Debtor. In addition, any entity filing a proof of claim must
         identify on its proof of claim form the particular Debtor against which its claim is asserted. If
         more than one Debtor is listed on the form, the proof of claim will be treated as filed only against
         the first listed Debtor.

                 Under the Bar Date Order, the filing of a proof of claim form shall be deemed to satisfy
         the procedural requirements for the assertion of administrative priority claims under section
         503(b)(9) of the Bankruptcy Code. All other administrative claims under section 503(b) of the
         Bankruptcy Code must be made by separate requests for payment in accordance with section
         503(a) of the Bankruptcy Code. For the avoidance of doubt, Section 503(b)(9) Claims must be
         filed by the General Bar Date.

                              PROOFS OF CLAIM SUBMITTED BY FACSIMILE
                             OR ELECTRONIC MAIL WILL NOT BE ACCEPTED.

                 4.      When and Where to File

                 All proofs of claim must be submitted so as to be actually received by the Debtors’
         claims agent, Epiq Bankruptcy Solutions, LLC (“Epiq”), on or before the applicable Bar Date
         (i) by completing the electronic proof of claim form on Epiq’s website at
         http://dm.epiq11.com/colorspot or (ii) in person, by courier service, by hand delivery, or by mail
         so as to be received on or before the applicable Bar Date at the following address:

         If by First-Class Mail:                              If by Hand Delivery or Overnight Mail:
         Color Spot Holdings, Inc.,                           Color Spot Holdings, Inc.,
         Claims Processing Center                             Claims Processing Center
         c/o Epiq Bankruptcy Solutions, LLC                   c/o Epiq Bankruptcy Solutions, LLC
         P.O. Box 4419                                        10300 SW Allen Blvd.
         Beaverton, OR 97076-4419                             Beaverton, OR 97005

                 Proofs of claim will be collected, docketed, and maintained by Epiq. If you wish to
         receive acknowledgement of Epiq’s receipt of a proof of claim, you must submit by the
         applicable Bar Date and concurrently with submitting your original proof of claim (i) a copy of
         the original proof of claim and (ii) a self-addressed, postage prepaid return envelope.
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                 Proofs of claim will be deemed filed only when actually received by Epiq. Proofs of
         claim may not be delivered by facsimile or electronic mail transmission. Any facsimile or
         electronic mail submissions will not be accepted and will not be considered filed until a proof of
         claim is submitted by one of the methods described above.

                5.      Who Need Not File a Proof of Claim

                 The Bar Date Order further provides that the following entities, who otherwise would be
         subject to the General Bar Date, need not file proofs of claim in these cases:

                  (i)   any person or entity that already has filed a signed proof of claim against the
                        applicable Debtor(s) with Epiq or the Clerk of the Court in a form substantially
                        similar to Official Bankruptcy Form B10;

                 (ii)   any person or entity whose claim is listed on the Schedules if: (a) the claim is not
                        scheduled as any of “disputed,” “contingent,” or “unliquidated;” (b) such entity
                        agrees with the amount, nature, classification, and priority of the claim as set forth
                        in the Schedules; and (c) such person or entity does not dispute that its claim is an
                        obligation only of the specific Debtor against which the claim is listed in the
                        Schedules;

                (iii)   any holder of a claim that previously has been allowed by order of the Court;

                (iv)    any holder of a claim that has been paid in full by any of the Debtors pursuant to
                        the Bankruptcy Code or in accordance with an order of the Court;

                 (v)    any Debtor having a claim against another Debtor;

                (vi)    any holder of an administrative expense allowable under sections 503(b) and
                        507(a)(2) of the Bankruptcy Code other than a Section 503(b)(9) Claim; and

                (vii)   any holder of an interest based on equity securities of a Debtor solely with respect
                        to such holder’s ownership interest in or possession of such equity securities;
                        provided, however, that any such holders who wish to assert a claim against any
                        of the Debtors based on transactions in the Debtors’ securities, including, but not
                        limited to, claims for damages or rescission based on the purchase or sale of such
                        securities, must file a proof of claim on or prior to the General Bar Date;
                        provided, further, that the Debtors reserve all rights with respect to any such
                        claims including, inter alia, to assert that such claims are subject to subordination
                        pursuant to section 510(b) of the Bankruptcy Code.

                6.      Executory Contracts and Unexpired Leases

                As described in Section 1 above, any entity that has a claim arising out of the rejection of
         an executory contract or unexpired lease prior to the confirmation of a plan of reorganization
         must file a proof of claim for damages caused by such rejection by the Rejection Bar Date.


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                7.      Consequences of Failure to File a Proof of Claim by the Applicable Bar Date

              ANY PERSON OR ENTITY THAT IS REQUIRED TO FILE A PROOF OF
         CLAIM BUT THAT FAILS TO DO SO BY THE APPLICABLE BAR DATE
         DESCRIBED IN THIS NOTICE SHALL BE FOREVER BARRED, ESTOPPED, AND
         ENJOINED FROM THE FOLLOWING: (i) ASSERTING ANY CLAIM AGAINST THE
         DEBTORS THAT AROSE PRIOR TO THE PETITION DATE THAT THE ENTITY
         HAS THAT (a) IS IN AN AMOUNT THAT EXCEEDS THE AMOUNT, IF ANY, THAT
         IS IDENTIFIED IN THE SCHEDULES ON BEHALF OF SUCH ENTITY AS
         UNDISPUTED, NONCONTINGENT AND LIQUIDATED, OR (b) IS OF A DIFFERENT
         NATURE OR A DIFFERENT CLASSIFICATION THAN ANY CLAIM IDENTIFIED IN
         THE SCHEDULES ON BEHALF OF SUCH PERSON OR ENTITY (ANY SUCH CLAIM
         UNDER SUBPARAGRAPH (a) BEING REFERRED TO IN THIS NOTICE AS AN
         “UNSCHEDULED CLAIM”); OR (ii) VOTING UPON, OR RECEIVING
         DISTRIBUTIONS UNDER, ANY PLAN OR PLANS OF REORGANIZATION IN THE
         CHAPTER 11 CASES IN RESPECT OF AN UNSCHEDULED CLAIM.

                8.      The Debtors’ Schedules and Access Thereto

                 You may be listed as the holder of a claim against one or more of the Debtors in the
         Schedules. To determine if and how you are listed in the Schedules, please refer to the
         information set forth on the enclosed proof of claim form regarding the nature, amount,
         classification, and status of your claim. If the Debtors believe that you may hold claims against
         more than one Debtor, you will receive proof of claim forms, each of which will reflect the
         nature and amount of your claim by separate Debtor, as listed in the Schedules.

                 If you choose to rely on the Schedules, it is your responsibility to determine that the
         claim is accurately listed in the Schedules. However, the enclosed form: (i) sets forth the
         amount of your claim (if any) as set forth in the Schedules; (ii) identifies the Debtor against
         which it is scheduled; (iii) specifies whether your claim is listed in the Schedules as either one or
         more of disputed, contingent, or unliquidated; and (iv) identifies whether your claim is scheduled
         as a secured claim, unsecured priority claim, or unsecured nonpriority claim.

                 As described above, if: (i) you agree with the nature, amount, and status of your claim as
         listed in the Schedules; (ii) you do not dispute that your claim is only against the Debtor
         specified by the Debtors; and (iii) your claim is not described as either one or more of:
         “disputed,” “contingent,” or “unliquidated;” you need not file a proof of claim. Otherwise, you
         must file a proof of claim before the applicable Bar Date in accordance with the procedures set
         forth in this Notice.

                9.      Reservation of Rights

                 The Debtors reserve the right to: (i) dispute, or to assert offsets or defenses against, any
         filed claim or any claim listed or reflected in the Schedules as to the nature, amount, liability,
         priority, classification, or otherwise; (ii) subsequently designate any scheduled claim as disputed,
         contingent, or unliquidated; and (iii) otherwise amend or supplement the Schedules. Nothing


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         contained in this Notice shall preclude the Debtors from objecting to any claim, whether
         scheduled or filed, on any grounds.

                  10.   Additional Information

                 Copies of the Schedules, the Bar Date Order, and other information regarding these
         chapter 11 cases are available for inspection free of charge on Epiq’s website at
         http://dm.epiq11.com/colorspot. The Schedules and other filings in these chapter 11 cases also
         are available for a fee at the Court’s website at www.deb.uscourts.gov. A login identification
         and password to the Court’s Public Access to Court Electronic Records (“PACER”) are required
         to access this information and can be obtained through PACER at www.pacer.psc.uscourts.gov.
         Copies of the Schedules and other documents filed in these cases also may be examined between
         the hours of 9:00 a.m. and 4:30 p.m., Monday through Friday, at the office of the Clerk of the
         Court, United States Bankruptcy Court for the District of Delaware, 824 Market Street, 3rd
         Floor, Wilmington, Delaware 19801.

                If you require additional information regarding the filing of a proof of claim, you may
         contact the Debtors’ notice and claims agent, Epiq, by calling 646-282-2500, or emailing
         Colorspot@epiqglobal.com.

               A HOLDER OF A POSSIBLE CLAIM AGAINST THE DEBTORS SHOULD
         CONSULT ITS OWN ATTORNEY REGARDING ANY MATTERS NOT COVERED BY
         THIS NOTICE, SUCH AS WHETHER THE HOLDER SHOULD FILE A PROOF OF CLAIM.
         NEITHER THE COURT NOR COUNSEL TO THE DEBTORS CAN ADVISE CREDITORS
         WHETHER THEY SHOULD FILE A PROOF OF CLAIM.

         Dated:    July 27, 2018                 YOUNG CONAWAY STARGATT & TAYLOR, LLP
                   Wilmington, Delaware
                                                 /s/ Jaime Luton Chapman
                                                 M. Blake Cleary (No. 3614)
                                                 Sean T. Greecher (No. 4484)
                                                 Ryan M. Bartley (No. 4985)
                                                 Jaime Luton Chapman (No. 4936)
                                                 Rodney Square
                                                 1000 North King Street
                                                 Wilmington, Delaware 19801
                                                 Telephone: (302) 571-6600
                                                 Facsimile: (302) 571-1253

                                                 Counsel to the Debtors and Debtors in Possession




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